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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANGELINA KHARCHENKO,                  :
                                      :
                   Plaintiff,         :
      v.                              :     NO. 2:22-CV-01421-CMR
                                      :
WT RAND TRANSPORT, LLC and            :     ELECTRONICALLY FILED
WT RAND LOGISTICS, LLC,               :
                                      :
                   Defendants.        :

             STIPULATION TO EXTEND TIME TO RESPOND

      The parties stipulate and agree, subject to the Court’s approval, to extend by

seven (7) days until May 30, 2024 the deadline for Fellerman & Ciarimboli Law,

P.C. to file its opposition to Proposed Intervenor Bochetto & Lentz, P.C.’s Motion

To Intervene and for Reconsideration of Court’s Entry of Stipulated Order. This

brief extension is necessitated by a death in the family of counsel for Fellerman &

Ciarimboli Law, P.C.

Respectfully submitted:

/s/ Donna A. Walsh                          /s/ Gavin P. Lentz
Daniel T. Brier                             Gavin P. Lentz
Donna A. Walsh                              Albert M. Belmont, III
Attorneys for Fellerman &                   Attorneys for Proposed Intervenor,
Ciarimboli Law, PC                          Bochetto & Lentz, P.C.
Myers, Brier & Kelly, LLP                   Bochetto & Lentz, P.C.
425 Biden Street, Suite 200                 1524 Locust Street
Scranton, PA 18503                          Philadelphia, PA 19102

Date: May 23, 2024                          BY THE COURT:
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